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                    PSJ11 CVS Opp Exh 4
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    1                    UNITED STATES DISTRICT COURT
    2                  FOR THE NORTHERN DISTRICT OF OHIO
    3                             EASTERN DIVISION
    4

    5    -----------------------------x
    6    IN RE: NATIONAL PRESCRIPTION              ) Case No.
    7    OPIATE LITIGATION                         ) 1:17-MD-2804
    8    APPLIES TO ALL CASES                      ) Hon. Dan A. Polster
    9    -----------------------------x
   10

   11          HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   12                       CONFIDENTIALITY REVIEW
                VIDEOTAPED DEPOSITION OF PAMELA HINKLE
   13

                                WASHINGTON, D.C.
   14

                         THURSDAY, JANUARY 24, 2019
   15

                                    9:06 A.M.
   16

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   24    Reported by: Leslie A. Todd

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    1                   MR. BAKER:      Okay.

    2                   MS. MILLER:       -- as she considers your

    3    questions.

    4    BY MR. BAKER:

    5            Q      Okay.     Respectfully, I'm going to ask

    6    you this question.         Respectfully, I request that

    7    you answer it, okay?

    8                   The question is simply this:             The IRR

    9    recap report is a recap of which orders on the IRR

   10    daily report for that month were subjected by the

   11    LP analyst to further due diligence review,

   12    correct?

   13                   MS. MILLER:       Object to form.        Asked and

   14    answered.

   15                   THE WITNESS:       The report was -- the

   16    information was put on the report that -- of

   17    information that they -- they would do reviews for

   18    and put -- placed on that report, sir.                That's

   19    what I -- I know happened.

   20    BY MR. BAKER:

   21            Q      Do you know why something appears on

   22    this report?

   23                   MS. MILLER:       Object to form.

   24                   THE WITNESS:       They were doing reviews on

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    1    those -- on that information, sir.

    2    BY MR. BAKER:

    3            Q      So if there was not a review done on an

    4    order of interest that appeared on the IRR, if

    5    there's no review done, then it's not going to

    6    appear on this report, correct?

    7                   MS. MILLER:       Object to form.

    8                   THE WITNESS:       Sir, I -- I can't answer

    9    that.     I don't know.

   10    BY MR. BAKER:

   11            Q      Ma'am, you were the manager.             Are you

   12    telling me you don't know why something would

   13    populate on the control IRR recap report?

   14                   MS. MILLER:       Object to form.

   15                   THE WITNESS:       I know that they used this

   16    form.     I know that they put information from --

   17    when they reviewed on this form, sir, but I can't

   18    tell you anything other than that, that that's

   19    what they did, that's what they used.

   20    BY MR. BAKER:

   21            Q      And this form was used for what?

   22                   MS. MILLER:       Object to form, asked and

   23    answered.

   24    BY MR. BAKER:

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